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                            IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TENNESSEE
                                      EASTERN DIVISION

__________________________________________________________________________________

                                   )
UNITED STATES OF AMERICA,          )
                                   )
            Plaintiff,             )
                                   )
VS.                                )                 CR. NO. 1:17-10067-STA-12
                                   )
JENNIFER HOLLEY-MELTON,            )
                                   )
            Defendant.             )
__________________________________________________________________________________

                            ORDER ON CHANGE OF PLEA
                              AND NOTICE OF SETTING
__________________________________________________________________________________



       This cause came to be heard on April 16, 2018, Assistant United States Attorney, Taylor Eskridge,
appearing for the Government and the defendant, Jennifer Holley-Melton, appearing in person, and with
counsel, Josh Morrow.

       With leave of the Court, the defendant withdrew the not guilty plea heretofore entered and
entered a plea of guilty to Count 1 of the Indictment.

       A basis in fact having been established, the Court accepted the guilty plea.

       SENTENCING in this case is SET for TUESDAY, NOVEMBER 13, 2018 at 9:00 A.M., before
Chief S. Thomas Anderson.

       Defendant is to remain released on present bond.

       ENTERED this the 16th day of April, 2018.


                                                    s/ S. Thomas Anderson
                                                    CHIEF JUDGE, U. S. DISTRICT COURT
